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                 Exhibit 29
         June 6, 2018 Email (TES-
           TRIPP_0012897-99)




                                                                       MSJ_405
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From:                               Kamran Mumtaz
Sent:                               Wednesday, June 06, 2018 8:25 AM
To:                                 Linette Lopez
Cc:                                 Dave Arnold;Gina Antonini
Subject:                            Re: New machine from Germany



Got it -      looking into it. Just confirming, the video (and machine) is from this weekend and not an old one?

From: Linette Lopez <llopez@businessinsider.com>
Sent: Wednesday, June 6, 2018 7:57:24 AM
To: Kamran Mumtaz
Cc: Dave Arnold; Gina Antonini
Subject: Re: New machine from Germany

Wait, no geometry inspection on this machine. My mistake.

On Wed, Jun 6, 2018 at 10:44 AM, Linette Lopez <llopez@businessinsider.com> wrote:
 Like I said I'm talking about the machine that was flown in from Germany this weekend, which as I understand
 it, is supposed to make modules.

    Specifically it handles the modules toward their end stages, giving them temperature sensing capabilities and
    adding their circuit board. It then seals the whole thing and does geometric checks to make sure that they can
    all fit as a battery pack.

    We do not plan to post the video.

    Cheers,
    LL

    On Wed, Jun 6, 2018 at 10:35 AM, Kamran Mumtaz <kmumtaz@tesla.com> wrote:
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    Hey Linette - good to hear from you. Could you share more details on what machine you are referring to, so
    we can look into it? Any additional context would be great.



     Also, is the story about the machine in particular and are you planning to post the video?




     From: Linette Lopez <llopez@businessinsider.com>
     Date: Wednesday, June 6, 2018 at 7:23 AM




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      To: Karman Mumtaz <kmumtaz@tesla.com>, Press <press@tesla.com>
      Subject: New machine from Germany



     Hey Kamran and everyone!


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     A source of ours took a video of the new machine the Gigafactory just had flown in from Germany. It' s not
     up and running yet. Seems like the factory is still figuring it out.



     As we understand it, the machine was supposed to be operational by Sunday. Can you comment on that, and
     let us know when Tesla thinks it will be up and running?

II
      Thank,



     LL



     Linette Lopez

      Senior Finance Correspondent

     Business Insider

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      On Twitter @lopezlinette




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